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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

ERIK HERNANDEZ, individually and on behalf
of similarly situated persons,

                     Plaintiff,
                                                       Case No. 1:20-cv-100
       v.
                                                       Jury Demanded
MAC PIZZA MANAGEMENT d/b/a
Domino’s, and MIKE CUNNINGHAM,
individually

                    Defendants.


                                   ORIGINAL COMPLAINT

    Plaintiff ERIK HERNANDEZ (“Plaintiff”), individually and on behalf of all other similarly

 situated delivery drivers, brings this Complaint against            Defendants MAC PIZZA

 MANAGEMENT and MIKE CUNNINGHAM, alleges as follows:

    1. Defendants operate numerous Dominos franchise stores. Defendants employ delivery

 drivers who use their own automobiles to deliver pizza and other food items to their customers.

 However, instead of reimbursing delivery drivers for the reasonably approximate costs of the

 business use of their vehicles, Defendants use a flawed method to determine reimbursement rates

 that provides such an unreasonably low rate beneath any reasonable approximation of the expenses

 they incur that the drivers’ unreimbursed expenses cause their wages to fall below the federal

 minimum wage during some or all workweeks.

    2. Plaintiff brings this lawsuit as a collective action under the Fair Labor Standards Act

 (“FLSA”), 29 U.S.C. § 201 et seq. to recover unpaid minimum wages and overtime hours owed to

 hiself and similarly situated delivery drivers employed by Defendants at its Dominos stores.
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                                     Jurisdiction and Venue

    3. The FLSA authorizes court actions by private parties to recover damages for violation of

its wage and hour provisions. Jurisdiction over Plaintiff’s FLSA claim is based on 29 U.S.C. §

216(b) and 28 U.S.C. § 1331 (federal question).

    4. Venue in this District is proper under 28 U.S.C. § 1391 because Plaintiff resides in this

District, Defendants employed Plaintiff in this District, Defendants operates Dominos franchise

stores in this District, and a substantial part of the events giving rise to the claim herein occurred

in this District.

                                               Parties

    5. Defendant, MAC PIZZA MANAGEMENT d/b/a Dominos, is operating as a joint and

integrated enterprise for purposes of the matter in this case. Defendant is authorized to do business

and is doing business in the State of Texas with their main corporate headquarters being located at

12633 State Highway 30 College Station, TX 77845. Defendant may be served via its registered

agent Allen J Segal who may be served at 1200 Briarcrest Ste 3100 Bryan, TX 77802 or wherever

he may be found.

    6. Defendant, Mike Cunningham is individually liable because, during the relevant times, he

was an owner of substantial interests in defendant, served as officer of the entity, and held

managerial responsibilities and substantial control over terms and conditions of drivers’ work as

they held the power to hire and fire, supervised and controlled work schedules and/or conditions

of employment, determined rates and methods of pay and/or expense reimbursements, and

maintained employment records and/or held control over employment records. Defendant may be

served at 12633 State Highway 30 College Station, TX 77845 or wherever he may be found.




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   7. Plaintiff was employed by Defendants from approximately January 2015 to September

2018 as a delivery driver at Defendants’ Dominos store located in Georgetown, TX and within this

District. Plaintiff hereby consents to pursue this claim under the FLSA is attached to this Original

Complaint as “Exhibit 1.”

                                        General Allegations

Defendants’ Business

   8. Defendants own and operate numerous Dominos franchise stores including stores within

this District and this Division.

   9. John Richmond is an owner, officer and director of corporate Defendants.

   10. In this capacity, Mr. Workman put the pay scheme at issue in place, has overseen and

enforced Defendants’ pay practices, and is, therefore, individually liable for the violations at issue.

   11. Defendants’ Dominos stores employ delivery drivers who all have the same primary job

duty: to deliver pizzas and other food items to customers’ homes or workplaces.

Defendants’ Flawed Automobile Reimbursement Policy

   12. Defendants require their delivery drivers to maintain and pay for safe, legally-operable,

and insured automobiles when delivering pizza and other food items.

   13. Defendants’ delivery drivers incur costs for gasoline, vehicle parts and fluids, repair and

maintenance services, insurance, depreciation, and other expenses (“automobile expenses”) while

delivering pizza and other food items for the primary benefit of Defendants.

   14. Defendants’ delivery driver reimbursement policy reimburses drivers on a per-delivery

basis, but the per-delivery reimbursement equates to below the IRS business mileage

reimbursement rate or any other reasonable approximation of the cost to own and operate a motor

vehicle. This policy applies to all of Defendants’ delivery drivers.




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   15. The result of Defendants’ delivery driver reimbursement policy is a reimbursement of

much less than a reasonable approximation of its drivers’ automobile expenses.

   16. During the applicable FLSA limitations period, the IRS business mileage reimbursement

rate ranged between $.535 and $.575 per mile. Likewise, reputable companies that study the cost

of owning and operating a motor vehicle and/or reasonable reimbursement rates, including the

AAA, have determined that the average cost of owning and operating a vehicle ranged between

$.571 and $.608 per mile during the same period for drivers who drive 15,000 miles per year.

These figures represent a reasonable approximation of the average cost of owning and operating a

vehicle for use in delivering pizzas.

   17. However, the driving conditions associated with the pizza delivery business cause even

more frequent maintenance costs, higher costs due to repairs associated with driving, and more

rapid depreciation from driving as much as, and in the manner of, a delivery driver. Defendants’

delivery drivers further experience lower gas mileage and higher repair costs than the average

driver used to determine the average cost of owning and operating a vehicle described above due

to the nature of the delivery business, including frequent starting and stopping of the engine,

frequent braking, short routes as opposed to highway driving, and driving under time pressures.

   18. Defendants’ reimbursement policy does not reimburse delivery drivers for even their

ongoing out-of-pocket expenses, much less other costs they incur to own and operate their vehicle,

and thus Defendants uniformly fail to reimburse its delivery drivers at any reasonable

approximation of the cost of owning and operating their vehicles for Defendants’ benefit.

   19. Defendants’ systematic failure to adequately reimburse automobile expenses constitutes a

“kickback” to Defendants such that the hourly wages it pays to Plaintiff and Defendants’ other

delivery drivers are not paid free and clear of all outstanding obligations to Defendants.




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   20. Defendants fail to reasonably approximate the amount of their drivers’ automobile

expenses to such an extent that its drivers’ net wages are diminished beneath the federal minimum

wage requirements.

   21. In sum, Defendants’ reimbursement policy and methodology fail to reflect the realities of

delivery drivers’ automobile expenses.

Defendants’ Failure to Reasonably Reimburse Automobile Expenses Causes Minimum Wage
Violations

   22. Regardless of the precise amount of the per-delivery reimbursement at any given point in

time, Defendants’ reimbursement formula has resulted in an unreasonable underestimation of

delivery drivers’ automobile expenses throughout the recovery period, causing systematic

violations of the federal minimum wage.

   23. Plaintiff was routinely paid below $7.25 per hour during his employment with Defendants,

which did include a tip credit applicable to the time she performed deliveries.

   24. The federal minimum wage has been $7.25 per hour since July 24, 2009.

   25. During the time Plaintiff worked for Defendants as a delivery driver, he was reimbursed

just $.25 per mile and on average drove 4-6 miles per delivery.

   26. During the relevant time period, the IRS business mileage reimbursement rate ranged

between $.56 and $.535 per mile, which reasonably approximated the automobile expenses

incurred delivering pizzas. http://www.irs.gov/Tax-Professionals/Standard-Mileage-Rates. Using

the lowest IRS rate and the highest rate per mile plaintiff was making per mile driven ($.25 per

mile) in effect during that period as a reasonable approximation of Plaintiff’s automobile

expenses, every mile driven on the job decreased his net wages by at least $.285 ($.535 - $.25)

per mile.




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   27. During his employment by Defendants, Plaintiff regularly made 3 or more deliveries per

hour. Thus using even a conservative under-estimate of Plaintiff’s actual expenses and damages,

every hour on the job decreased Plaintiff’s net wages by at least $.675 ($.285 x 3 deliveries).

   28. All of Defendants’ delivery drivers had similar experiences to those of Plaintiff. They were

subject to the same reimbursement policy; received similar reimbursements; incurred similar

automobile expenses; completed deliveries of similar distances and at similar frequencies; and

were paid at or near the federal minimum wage before deducting unreimbursed business expenses.

   29. Because Defendants paid their drivers a gross hourly wage at precisely, or at least very

close to, the federal minimum wage, and because the delivery drivers incurred unreimbursed

automobile expenses, the delivery drivers “kicked back” to Defendants an amount sufficient to

cause minimum wage violations.

   30. While the amount of Defendants’ actual reimbursements per delivery may vary over time,

Defendants are relying on the same flawed policy and methodology with respect to all delivery

drivers at all of their other Dominos stores. Thus, although reimbursement amounts may differ

somewhat by time or region, the amounts of under-reimbursements relative to automobile costs

incurred are relatively consistent between time and region.

   31. Defendants’ low reimbursement rates were a frequent complaint of Defendants’ delivery

drivers, which resulted in discussions with management, yet Defendants continued to reimburse at

a rate much less than any reasonable approximation of delivery drivers’ automobile expenses. In

fact, there were times that Defendants would not pay Plaintiff and other Drivers anything for

mileage or would deduct pay from their mileage amounts.




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   32. The net effect of Defendants’ flawed reimbursement policy is that Defendants have

willfully failed to pay the federal minimum wage to their delivery drivers. Defendants thereby

enjoys ill-gained profits at the expense of its employees.

                                    Collective Action Allegations

   33. Plaintiff brings this FLSA claim as an “opt-in” collective action on behalf of similarly

situated delivery drivers pursuant to 29 U.S.C. § 216(b).

   34. The FLSA claims may be pursued by those who opt-in to this case pursuant to 29 U.S.C.

§ 216(b).

   35. Plaintiff, individually and on behalf of other similarly situated employees, seeks relief on

a collective basis challenging Defendants’ practice of failing to pay employees federal minimum

wage. The number and identity of other plaintiffs yet to opt-in may be ascertained from

Defendants’ records, and potential class members may be notified of the pendency of this action

via mail and electronic means.

   36. Plaintiff and all of Defendants’ delivery drivers are similarly situated in that:

       a.      They have worked as delivery drivers for Defendants delivering pizza and other

               food items to Defendants’ customers;

       b.      They have delivered pizza and food items using automobiles not owned or

               maintained by Defendants;

       c.      Defendants required them to maintain these automobiles in a safe, legally-operable,

               and insured condition;

       d.      They incurred costs for automobile expenses while delivering pizzas and food items

               for the primary benefit of Defendants;




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          e.      They were subject to similar driving conditions, automobile expenses, delivery

                  distances, and delivery frequencies;

          f.      They were subject to the same pay policies and practices of Defendants;

          g.      They were subject to the same delivery driver reimbursement policy that under-

                  estimates automobile expenses per mile, and thereby systematically deprived of

                  reasonably approximate reimbursements, resulting in wages below the federal

                  minimum wage in some or all workweeks;

          h.      They were reimbursed similar set amounts of automobile expenses per delivery;

                  and,

          i.      They were paid at or near the federal minimum wage before deducting

                  unreimbursed business expenses.

                   Count I: Violation of the Fair Labor Standards Act of 1938

    37. Plaintiff reasserts and re-alleges the allegations set forth above.

    38. The FLSA regulates, among other things, the payment of minimum wage by employers

whose employees are engaged in interstate commerce, or engaged in the production of goods for

commerce, or employed in an enterprise engaged in commerce or in the production of goods for

commerce. 29 U.S.C. §206(a).

    39. Defendants are subject to the FLSA’s minimum wage requirements because it is an

enterprise engaged in interstate commerce, and its employees are engaged in commerce.

    40. At all relevant times herein, Plaintiff and all other similarly situated delivery drivers have

been entitled to the rights, protections, and benefits provided under the FLSA, 29 U.S.C. §§ 201,

et seq.




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   41. Section 13 of the FLSA, codified at 29 U.S.C. § 213, exempts certain categories of

employees from federal minimum wage obligations. None of the FLSA exemptions apply to

Plaintiff or other similarly situated delivery drivers.

   42. Under Section 6 of the FLSA, codified at 29 U.S.C. § 206, employees have been entitled

to be compensated at a rate of at least $7.25 per hour since July 24, 2009.

   43. As alleged herein, Defendants have reimbursed delivery drivers less than the reasonably

approximate amount of their automobile expenses to such an extent that it diminishes these

employees’ wages beneath the federal minimum wage.

   44. Defendants knew or should have known that their pay and reimbursement policies,

practices and methodology result in failure to compensate delivery drivers at the federal minimum

wage.

   45. Defendants, pursuant to their policy and practice, violated the FLSA by refusing and failing

to pay federal minimum wage to Plaintiff and other similarly situated employees.

   46. Plaintiff and all similarly situated delivery drivers are victims of a uniform and employer-

based compensation and reimbursement policy. This uniform policy, in violation of the FLSA, has

been applied, and continues to be applied, to all delivery driver employees in Defendants’ stores.

   47. Plaintiff and all similarly situated employees are entitled to damages equal to the minimum

wage minus actual wages received after deducting reasonably approximated automobile expenses

within three years from the date each Plaintiff joins this case, plus periods of equitable tolling,

because Defendants acted willfully and knew, or showed reckless disregard for, whether its

conduct was unlawful.

   48. Defendants have acted neither in good faith nor with reasonable grounds to believe that its

actions and omissions were not a violation of the FLSA, and as a result, Plaintiff and other similarly




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situated employees are entitled to recover an award of liquidated damages in an amount equal to

the amount of unpaid minimum wages under 29 U.S.C. § 216(b). Alternatively, should the Court

find Defendants is not liable for liquidated damages, Plaintiff and all similarly situated employees

are entitled to an award of prejudgment interest at the applicable legal rate.

   49. As a result of the aforesaid willful violations of the FLSA’s minimum wage provisions,

minimum wage compensation has been unlawfully withheld by Defendants from Plaintiff and all

similarly situated employees. Accordingly, Defendants are liable under 29 U.S.C. § 216(b),

together with an additional amount as liquidated damages, pre-judgment and post-judgment

interest, reasonable attorneys’ fees, and costs of this action.

                                     PRAYER FOR RELIEF

   WHEREFORE, Plaintiffs and the Putative Plaintiffs collectively pray that this Honorable

Court:

         1. Issue an Order certifying this action as a collective action under the FLSA and

designate the above Plaintiff as representative of all those similarly situated under the FLSA

collective action;

         2. Award Plaintiff and the Putative Plaintiffs actual damages for unpaid wages and

liquidated damages equal in amount to the unpaid compensation found due to Plaintiff and the

class as provided by the FLSA, U.S.C. § 216(b);

         3. Award Plaintiff and the Putative Plaintiffs pre- and post-judgment interest at the

statutory rate as provided by the FLSA, U.S.C. § 216(b);

         4. Award Plaintiff and the Putative Plaintiffs attorneys’ fees, costs, and disbursements as

provided by the FLSA, 29 U.S.C. § 216(b); and




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       5. Award Plaintiff and the Putative Plaintiffs further legal and equitable relief as this Court

deems necessary, just, and proper.



                                      Demand for Jury Trial

   Plaintiff hereby requests a trial by jury of all issues triable by jury.


                                                   Respectfully submitted,

                                               FORESTER HAYNIE PLLC

                                               /s/ J. Forester
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                                               ATTORNEYS FOR PLAINTIFFS




                                 CERTIFICATE OF SERVICE

       Service will be made on Defendants with summons to be issued by the clerk according to

the Federal Rules of Civil Procedure.


                                               /s/ J. Forester




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